                                                              ___ ___   ,.




          IBRAHIM NASSER
 2        P.O. Box 5626
                                                                       APR 13 2019
          CHULA VISTA, CA 91912
 3

 4        Plaintiff In Propria Persona
 5

 6                                  UNITED STATES DISTRICT COURT
 7                             FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 8

 9
          IBRAHIM NASSER, AN                          Case No.: 3: l 7-cv-863-BTM-MDD
lo        INDIVIDUAL, AND SERIOUS
          SCENTS,
11
                                                     RESPONSE TO ORDER TO SHOW
12
                                 Plaintiff,          CAUSE

13        v.
14
          JULIUS SAMMAN LTD. DBA LITTLE
15
          TREE DBA CAR-FRESHENER
16        CORPORATION, ET AL.,
17                              Defendants.
18
                Plaintiffs Ibrahim Nasser, an individual, and Serious Scents hereby files this
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20        Response to the Court's Order to Show Cause dated pursuant to this Court's Marc

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     126, 2019, and, for the reasons stated herein, respectfully requests that the Court not
22
          dismiss Serious Scents as a Plaintiff from this action.
23

                1. Plaintiff Nasser has enjoyed success and substantial sales with Serious
24   1.




25
     IScents and Little Grenade air freshener products since 1993.
26   I
                2. In 2004 Plaintiff Nasser turned Serious Scents into a corporation,
27   II

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     iRESPONSE TO ORDER TO SHOW CAUSE - 1
     I
     I
     i
          with a principal place of business in Chula Vista, California. Serious Scents owned
 2
          the SERIOUS SCENTS and LITTLE GRENADE trademarks.
 3

 4              3. In 2013, Defendants Nasser and Serious Scents Inc. were brought into
 5
          litigation by American Covers Inc. In The United States District Court for The
 6

 7        District of Utah Central Division whom now owned by Energizer Brands II LLC.

 8
          American Covers Inc. Litigation went from 10/18/13 until 10/1/14.
 9
                4. In 2013 Plaintiffs Nasser and Serious Scents Inc. were brought into
10

11        litigation by Defendants Julius Samann Ltd. and Car-Freshener Co. who filed a
12
          petition for cancellation of Plaintiffs' LITTLE GRENADE Trademark Registration
13

14        Number: 3,508,401. Litigation went from 6/10/13 until 6/16/15.

15
                5. In addition, Defendant Julius Samann Ltd. made a petition for opposition
16    .
          against Plaintiffs' LITTLE GRENADE Trademark Serial Number: 8,564,1084.
17    I
1&    ILitigation went from 5/15/13 until 2/15/17.
19    I         6. Due to the costly onslaught of the litigation Plaintiff Nasser was unable
20    I
21    Ito continue Serious Scents as a corporation. Serious Scents was then officially

22
      idissolved in April 19, 2017. Exhibit 1.
23    I
                7. There is no legal barrier to a suit against a dissolved corporation itself
24    I
25    II for injury or damage that was caused by the corporation's pre-dissolution activities.
      I
26    i
      \Penasquitos, Inc. v. Superior Court, 53 Cal. 3d 1180, 1183, 283 Cal. Rptr. 135,
27    i

28    I 144, 812 P.2d 154, 163 (1991).
     I! RESPONSE TO ORDER TO SHOW CAUSE - 2
      I
      i

      i
      i
     11
                    8. Here, Plaintiff Serious Scents is allowed to bring suit against Defendants
 2
              because Plaintiff Serious Scents is suing Defendants for abuse of process that
 3

 4            occurred before Serious Scents was dissolved as a corporation.
 5
                    9. Furthermore, Plaintiffs Nasser and Serious Scents are unable to afford
 6

 7            an attorney because their funds were depleted during the litigation against

 8
              Defendants Julius Samann Ltd. and Car-Freshener Co. and American Covers Inc.
 9
                    WHEREFORE, Plaintiffs respectfully request that the Court refrain from
10
         I
11            dismissing Serious Scents as a Plaintiff from this action.
12

13


                                                                Respectfully Submitted,
:: I
16       I
11       !Dated this 16 of April 2019.
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                                                                 aintiff In Propria Persona
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28 i !
     i !RESPONSE TO ORDER TO SHOW CAUSE - 3
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     I
                                                                                                  Case No.: 3:17-cv-863-BTM-MDD



                                                                         Exhibit 1




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